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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF ARKANSAS

CHRISTINE TURNER, SPECIAL ADMINSITRATOR
OF THE ESTATE OF LINDA WARNER, Deceased                                          PLAINTIFF

V.                                         CASE NO. 4:18-cv-468-DPM

GARRY STEWART, MD                                                                DEFENDANT


                               PLAINTIFF’S MOTION IN LIMINE

        COMES NOW the Plaintiff, Christine Turner, and for her Motion in Limine, states,

requests, and moves this Court for an Order in Limine as follows:

     1. Plaintiff Christine Turner requests an Order instructing Defendant, Defendant’s counsel,

        and any of Defendant’s witnesses to refrain from making reference to, directly or indirectly,

        or eliciting any testimony regarding any of the following matters in the presence of the jury

        during the trial of this matter:

            a. The amount of Linda Warner’s medical bills;

            b. Whether or not the Linda Warner received or will receive benefits of any kind from a

                 collateral source;

            c. Any settlement discussions;

            d. Directly or indirectly stating or implying that the Defendant will be personally

                 responsible for any judgment;

            e. The circumstances surrounding the Plaintiff’s retention of an attorney;

            f. Attorney fees and costs;

            g. The practice areas, advertising, and reputation of any law firm involved in the case;

            h. Expert testimony of lay witnesses;

            i.   Any reference that the Plaintiff acted improperly in filing a lawsuit against a doctor;



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 j.   Any reference the Defendant would pay a “just claim” or “would pay a claim if he

      actually owed the money;”

 k. Any reference that a verdict for the Plaintiff would have a damaging effect on

      medical services or the cost of medical services in Arkansas;

 l.   Any mention of the effect of this claim, suit, or any judgment based on this claim as

      insofar as it might affect the professional practice of the Defendant or his ability to

      deliver medical services;

 m. Any reference that a judgment in this case would have an effect on the cost of health

      insurance in Arkansas;

 n. Any reference to the probable testimony of any witness who is absent, unavailable,

      or not called to testify in this case;

 o. Any reference to the failure to call any witness available equally to either side;

 p. Referring to Linda Warner as an inmate, detainee, or any other term that means an

      incarcerated person;

 q. Arguing or implying that Linda Warner was contributorily negligent or failed to take

      action to mitigate her damages;

 r. The fact of any settlement and the amount of the settlement paid by the Faulkner

      County Defendants (all defendants dismissed pursuant to the settlement agreement);

 s. Any reference to any fault on behalf of the Faulkner County Defendants;

 t. Any reference to Plaintiff’s complaint prior to the settlement with the Faulkner

      County Defendants;

 u. Offering expert opinions regarding the percentages of fault of any of the parties or

      non-parties;

 v. Offering any expert opinions outside of the Defendant’s Rule 26 Expert Report; and


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            w. The relationship or lack thereof of Linda Warner with any potential statutory

                beneficiary that is not present at the trial.

    2. Plaintiff further requests that the Defendant’s counsel and any and all witnesses called on

        behalf of the Defendant be instructed to refrain from any mention, directly or indirectly, of

        the filing of this Motion in Limine or to any ruling by the Court in response to this Motion.

    3. Plaintiff states that the matters set out in this Motion in Limine would be inadmissible as

        evidence for any purpose on proper and timely objection.

    4. Permitting interrogation of witnesses, comments to jurors or prospective jurors or offers of

        evidence concerning the matters set forth in this Motion in Limine would prejudice the jury

        and sustaining objections to such questions, statements, or evidence introduced by counsel

        or witnesses would not prevent prejudice.

    5. Plaintiff further requests that the Court Order that if the Defendant’s counsel wishes to

        propose a theory of admissibility concerning the matters set forth in this Motion in Limine

        that Defendant’s counsel first must request a ruling from the Court outside the presence and

        hearing of all prospective jurors and jurors ultimately selected in this cause.

    6. Plaintiff is filing a brief in support of this motion simultaneously and incorporates it by

        referenced herein as if set forth word for word.

    WHEREFORE, the Plaintiff requests that this Court enter an order directing that the

Defendant’s counsel, Defendant, and any witnesses called on the Defendant’s behalf be instructed

to refrain from any mention or interrogation directly or indirectly in any manner whatsoever

including the offering of documentary evidence concerning the matters set forth in this Motion in

Limine and Brief in Support of the Motion without first requesting and obtaining a ruling from the

Court outside the presence and hearing of all prospective jurors and jurors ultimately selected in this

case in regard to any alleged theory of admissibility of such matter.


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Respectfully submitted,

                                              By: ____//s// Jessica Virden Mallett
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                                 CERTIFICATE OF SERVICE

       I certify that on February 26, 2021, a copy of the foregoing motion has been served on all
counsel through the Court’s electronic filing system.




                                                      ____//s// Jessica Virden Mallett
                                                      Jessica Virden Mallett




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